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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
JUST[N SPROULE
Plaintiff
v.
UNITED STATES FOOD AND DRUG
ADMINISTRATION, UNITED STATES
DEPARTMENT OF HEALTH AND HUMAN
SERVICES, and THOMAS E. PRICE,
THE SECRETARY OF HEALTH AND
HUMAN SERVICES

Defendants.

COMPLAINT

Plaintiff sues the United States Food and Drug Administraticn, the United States
Department of Health and Human Services, and Thomas E. Price, the Secretary of Health and
Human Services and alleges the following:

NATURE OF THE CASE

1. Tobacco companies’ effort to deceive the American public about the health effects
of their deadly products dates back to the 1950s To profit from death and disease, the industry
targets youth, once called “replacement smokers,” to replenish the supply. Tobacco companies
also manipulate the levels of nicotine in cigarettes to create and sustain addiction.

2. ln promoting false health reassurance, there is no better shape-shifter. The industry
first denied smoking’s lethal effects; it then cast doubt on the overwhelming evidence to fabricate

a health controversy Where none existed Meanvvhile, tobacco companies offered bogus health

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reassurance products like filtered cigarettes, “natural” cigarettes, “light” cigarettes, “mild”
cigarettes, and “loW tar” cigarettes

3. The result is devastating Smoking is the leading cause of preventable death.
Cigarette smoking causes about one in every five deaths in the United States each year. This
amounts to around 480,000 deaths annually. lf smoking continues at the current rate among U.S.
youth, 5.6 million of today’s Arnericans younger than 18 years of age are expected to die
prematurely from a smoking-related illness. This represents about one in every 13 Americans aged
17 years or younger Who are alive today.

4. Natural American Spirit (“NAS”) cigarettes perpetuate the type of false health
impression that the tobacco industry has been peddling, all too successfully NAS cigarettes are
marketed as “Natural” “Additive Free” “100% Additive Free” and “Organic” -terms that represent
health benefits and reduced risk. Santa Fe Natural Tobacco Company, With extensive help and
oversight by R.J. Reynolds Tobacco Company and Reynolds American, Inc. make and promote
NAS. By using these descriptors, the tobacco companies mislead NAS smokers to think that the
cigarettes are safer than others

5. Recognizing the deception, the FDA told Santa Fe in August 2015 that
commercializing NAS violated the Family Smoking Prevention and Tobacco Control Act (the
Act). The Act requires FDA approval to sell “modified risk tobacco products,” like cigarettes With
health descriptors, i.e. NAS. See 21 U.S.C. § 387k. The Act sets forth a notice and comment
process that the FDA must folloW, and substantive criteria that the FDA must apply, before issuing
an order authorizing the interstate sale and distribution of any products that are represented to the
public in any manner as “reduc[ing] harm or the risk of tobacco-related disease associated With

commercially marketed tobacco products.” [d.

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6. Santa Fe has never submitted to FDA the application the Act demands for the
distribution of modified risk tobacco products Accordingly, no such application has been made
available for public comment and the FDA has never made the findings necessary to approve such
a product. Yet in flagrant violation of the Act, the FDA has declared that, without following the
required procedures or standards Congress delineated precisely for the approval of modified risk
tobacco products, “Santa Fe may retain use of the term ‘Natural’ in the ‘Natural American Spirit’
brand name and trademarks,” and may also use the statements “Tobacco & Water” or “Tobacco
Filler lngredients: Tobacco & Water” on product labels, advertising, and promotional materials

7. The FDA’s authorization of Santa Fe’s activities without following the
Congressionally mandated process for public input and FDA approval constitutes agency action
that is “arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with laW” in
violation of the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2). Consequently, the
FDA’s action must be “set aside” pursuant to the APA. Absent this relief, consumers will continue
to be deceived, NAS smokers Will be irreparably harmed, and the public’s statutorily mandated
right to comment on a matter of urgent public health concern shall continue to be eviscerated.

PARTIES

8. Plaintiff Justin Sproule resides in Palm Beach County and is a citizen of the State
of Florida. Mr. Sproule has viewed the labels and packaging for Natural American Spirit cigarettes
that are represented as “Natural” and “Additive Fi‘ee.” Mr. Sproule regularly purchased varieties
of Natural American Spirit cigarettes, including purchases in Florida. He made those purchases
because he believed that they were in fact made with additive-free tobacco and were safer and
healthier because the cigarettes were represented to be “Natural” and “Additive Free.” Mr. Sproule

is a named lead plaintiff in the consolidated action In Re.' Santa Fe Nal‘ural Tobacco Company

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Marke[z`ng & Sales Pmcrices Lz`tigal‘z`on and Sales Practices Lz`tz`gaz‘i'on, l:16-md-O2695-JB-LF,
which is pending in the District of New l\/lexico. Mr. Sproule represents a class of NAS smokers
who were deceived by NAS labeling, packaging and advertising that contain the terms “Natural”
and “Additive-Free.” The FDA’s failure to follow the provisions of the Act, as alleged herein,
harm and will continue to harm NAS smokers, who believe and will continue to believe that NAS
are Modified Risk Tobacco Products, as defined in the Act.

9. Defendant, the United States Food and Drug Administration (FDA), is an
administrative agency of the United States Government within the Department of Health and
Human Services. The FDA’s headquarters are located in Silver Spring, Maryland. Congress has
delegated authority to the FDA to administer the relevant provisions of the Family Smoking
Prevention and Tobacco Control Act, 21 U.S.C. § 387 et seq.

10. Defendant, the United States Health and Human Services is an executive
department of the United States Government and is headquartered in Washington, DC.

11. Defendant, Thomas E. Price, is Secretary of Health and Human Services and the
official charged by law with administering the Act. The Secretary is sued in his official capacity.
Secretary Price maintains an office in Washington DC.

12. All defendants are collectively referred to as the FDA or Defendants unless
otherwise specified

JURISDICTION AND VENUE

13. This action arises under the Family Smoking Prevention and Tobacco Control Act,
21 U.S.C. § 387 et seq. and the APA.

14. The Court has jurisdiction under 28 U.S.C. § 1331 because this action arises under

the Constitution and laws of the United States.

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15. An actual controversy exists between the parties under 28 U.S.C. § 2201, and this
Court has authority to grant declaratory and injunctive relief under 28 U.S.C. §§ 2201, 2202, and
5 U.S.C. §§ 705, 706.
16. Venue is proper under 28 U.S.C. § 1391(€).
17. This case is related to In Re.' Santa Fe Naz‘ural Tobacco Company Marketing &
Sales Pracz‘z`ces Lz`tigatz`on, 1:16-md-02695-JB (D.N.l\/l.).
FACTUAL ALLEGATIONS

A. The “Natural” and “Additive Free” Labeling and Advertising Campaign
Drives Tremendous Growth and Market Share

18. NAS cigarettes are prominently labeled and advertised as “Natural” and “Additive
Free” or “100% Additive Free.” Some packs and advertisements contain the additional health
descriptor “Organic” or “Made With Organic Tobacco.”

19. The importance of “Natural” cannot be overstated: the word is part of the ci garette’s
brand name.

20. Reasonable consumers value natural products for important reasons, including the
belief that they are safer or less harmful than other cigarettes that are not represented as natural.

21 . “Natural” and “Additive Free” advertising claims have been used by throughout the
history of selling NAS cigarettes As Seth Moskowitz, a spokesman for Santa Fe, explained: “The
aim is to drive brand awareness, highlight Natural American Spirit’s 100-percent additive-free
natural tobacco proposition, and generate trial among adult smokers.”

22. NAS marketing, which is overseen by RJR, has been extremely successful

a. NAS is the fastest growing super-premium cigarette brand, and is a top 10 best-

selling cigarette brand in the United States; it ranks second in California.

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b. NAS sales increased by 86% from 2009 to 2014, compared to an overall 17%
decline in cigarette sales in the United States over the same time period.
c. NAS’s share of the market more than doubled between 2010 and 2015. ln 2016,
its share of the market increased to 2.2%.
d. Sales volume for NAS cigarettes increased by 21 .4% from 2014 to 2015 and 13.6%
from 2015 to 2016. 5 .4 billion NAS cigarettes were sold in 2016.
e. Reynolds recently sold the international rights to the NAS brand name and
trademarks for $5 billion.
23. The advertising and marketing campaign for NAS cigarettes is systematic and
pervasive: all NAS consumers are exposed to the “Natural” and “Additive Free” representations
B. NAS Health Descriptors Deceive Consumers
24. NAS health descriptors like “Natural” “Additive Free” and “Organic” are used to
deceive consumers into thinking that NAS cigarettes are safer or carry less risk cfa tobacco-related
disease than other cigarettes
25. The claims “Natura ” and “Additive Free” connote safer and healthier cigarettes
because consumers associate smoking cigarettes that are not natural and those that have additives
as dangerous and riskier.
26. Abundant peer-reviewed scientific literature demonstrates the belief.
27. Researchers at the University of California found, “[t]he idea that cigarettes are
natural may also help smokers down-play the risks of smoking, as ‘natural’ risks inspire less
concern than unnatural ones...smokers...frequently concluded that ‘natural’ cigarettes must be

healthier or safer than cigarettes containing chemicals . .”]

 

1 McDaniel, Patricia A. & Ruth E. Malone, “[Always Thought They Were All Pure Tobacco ”.' American Smokers ’
Perceptions of “Natu)'a[ ” Cigareltes and Tobacco Ina'ustry Advertising Strategl'es, 16 TOBACCO CONTROL e7 (2007)

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28. This study concluded: “[t]he tobacco industry is adept at casing smokers’ health
concerns through such product modifications as filters and (seemingly) reduced tar. American
tobacco companies have understood, for decades, that ‘natural’ is similarly misleading and implies
unwarranted health claims.”2

29. A December 2016 study, conducted by researchers at the Schroeder lnstitute for
Tobacco Research and Policy Studies, found that “Consumers believe that cigarettes marketed
with these [‘natural’ ‘additive free’ and ‘organic’] and similar descriptors are significantly more
appealing, healthier or less harmful than packages without these descriptors Such misperceptions
may encourage smokers to switch cigarettes brands rather than quit smoking entirely, or may
increase intent to try a product. No research has determined that NAS cigarettes are less harli
to human health than other cigarette brands Carbon monoxide, tart, heavy metals and other
particulate matter are present in conventional band in ‘organic’, ‘natural’ or ‘additive free’
cigarette smoke.”3 '

30. This study also concluded that pack disclaimers do not alter consumers’ belief that
NAS are less harmful than other cigarettes

31. These researchers, teamed with those at the Johns Hopkins Bloomberg School of
Public Health, and Global Health, New York University, determined that these health descriptors
extended to youth as more appealing, healthier or less harmful than other cigarettes, and that

“reduced harm messages conveyed by the tested descriptors increase the appeal of American Spirit

cigarettes lndeed, the cross-sectional association between perceived reduced harm and prior use

 

2 Id.

3 Pearson, Jennifer L., et al., Misperceptl`ons of harm among Natural American Spirit smokers: results j?'om wave ]
0 the Population Assessment ofTobacco and Health (PATH) stua§) (2013-2014). Tobacco Control (Dec. 6, 2016) at
1.

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of American Spirit cigarettes suggests that these descriptors may drive experimentation or use of
this brand.”4

32. In a survey of more than 1000 U.S. smokers, 60% thought that removing additives
made a cigarette less dangerous to smoke, and 73% believe that cigarettes with additives were
more harmiiil than those that did not have additives5

33. Anticipating regulators’ concern that marketing an additive-free cigarette implies
untruthful health claims, Reynolds conducted marketing studies to show otherwise. Reynolds did
not like the result: to the contrary, the research demonstrated that consumers believed additive-
free cigarettes were safer or healthier despite Reynolds’ leading and biased questions6

34. Because the tobacco industry’s ,“market research show[s] that consumers
incorrectly interpret the word ‘natural’ to mean that the [‘natural’] cigarettes are safer and healthier
than other cigarettes,” in a case that found that tobacco manufacturers were violating the Racketeer
lnfluenced and Corrupt Organizations Act (“RICO”), U.S. District Judge Gladys Kessler ruled that
“natural” is a “forbidden health descriptor.” U.S. v. th`lip Morris USA, Inc., 449 F. Supp. 2d l,
938 (D.D.C. 2006).

C. The Family Smoking Prevention and Tobacco Control Act

35. To protect the public health, Congress enacted the Family Smoking Prevention and

Tobacco Control Act, which became law on June 22, 2009 (the Act).

36. Congress found, in pertinent part:

 

4 Pearson, Jennifer L., et al., Ameri'can Spirit Pack Descrz`ptors and Percepz‘ions OfHarm.' A Crowdsourced
Comparz'san ofModi'fied Pac/cs, Nicotine & Tobacco Research 18(8): 1749-1756, 1755 (2016)

5 Cummings, K.M., et al., Are Smokers adequately informed about the health risks af smoking and medicinal
nicotine?, Nicotine & Tobacco Research 6(3): S333-340 (2004)

6 Id.

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a. The use of tobacco products by the Nation’s children is a pediatric disease of
considerable proportions that results in new generations of tobacco-dependent
children and adults

b. Because past efforts to restrict advertising and marketing of tobacco products have
failed adequately to curb tobacco use by adolescents, comprehensive restrictions
on the sale, promotion, and distribution of such products are needed.

c. lt is in the public interest for Congress to enact legislation that provides the Food
and Drug Administration with the authority to regulate tobacco products and the
advertising and promotion of such products

d. Comprehensive advertising restrictions will have a positive effect on the smoking
rates of young people.

e. lt is essential that the Food and Drug Administration review products sold or
distributed for use to reduce risks or exposures associated with tobacco products
and that it be empowered to review any advertising and labeling for such products
lt is also essential that manufacturers prior to marketing such products, be required
to demonstrate that such products will meet a series of rigorous criteria, and will
benefit the health of the population as a whole, taking into account both users of
tobacco products and persons Who do not currently use tobacco products

f. Unless tobacco products that purport to reduce the risks to the public of tobacco use
actually reduce such risks, those products can cause substantial harm to the public
health to the extent that the individuals who would otherwise not consume tobacco
products or would consume such products less, use tobacco products purporting to

reduce risk. Those who use products sold or distributed as modified risk products

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that do not in fact reduce risk, rather than quitting or reducing their use of tobacco
products, have a substantially increased likelihood of suffering disability and
premature death. The costs to society of the widespread use of products sold or
distributed as modified risk products that do not in fact reduce risk or that increase
risk include thousands of unnecessary deaths and injuries and huge costs to our
health care system.

g. The dangers of products sold or distributed as modified risk tobacco products that
do not in fact reduce risk are so high that there is a compelling governmental interest
in ensuring that statements about modified risk tobacco products are complete,
accurate, and relate to the overall disease risk of the product

h. Permitting manufacturers to make unsubstantiated statements concerning modified
risk tobacco products, whether express or implied, even if accompanied by
disclaimers would be detrimental to the public health.

i. The only way to effectively protect the public health from the dangers of
unsubstantiated modified risk tobacco products is to require that the Food and Drug
Administration follow certain procedures and make certain findings before
authorizing the sale of such products, including that products that tobacco
manufacturers sold or distributed for risk reduction be reviewed in advance of
marketing, and that the evidence relied on to support claims be fully verified.

37. Congress required the FDA to implement the Act’s provisions Relevant here, the
FDA cannot authorize the sale of tobacco products purporting to reduce the risk of tobacco-related
disease actually reduce that risk unless the FDA follows the legislatively mandated process and

criteria for doing so.

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D. The FDA’s Duties Concerning Modified Risk Tobacco Products

38. l\/lodified risk tobacco products (MRTPS) are tobacco products that are “sold or
distributed for use to reduce harm or the risk of tobacco-related disease associated with
commercially marketed tobacco products” See 21 U.S.C. § 387k(2).

39. MRTPS are tobacco products that represent in its “label, labeling, or advertising,”
either “implicitly or explicitly,” that: (i) the tobacco product presents a lower risk of tobacco-
related disease or is less harmful than. . .other commercially marketed tobacco products; (ii) the
tobacco product or its smoke contains a reduced level of substance or presents a reduced exposure
to a substance; (iii) the tobacco product or its smoke does not contain or is free of a substance.
MRTPS are also those that use descriptors “light”, “mild”, “low”, or similar descriptors in its label,
labeling, or advertising Id. § 387k(2)(A).

40. The Act categorically mandates that “[n]o person may introduce or deliver for
introduction into interstate commerce any modified risk tobacco product unless an order issued
[by the FDA] pursuant [the Act] is effective with respect to such product.” Id. § 387k(a).

41. To obtain FDA approval to market a l\/ITRP, a manufacturer of such a product must
submit an “application” which must include, e.g., “a description of the proposed product and any
proposed advertising and label,” the “conditions for using the product,” the “formulation of the

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product, sample product labels and labeling,” “data and information on how consumers actually
use the tobacco product,” and “all documents (including underlying scientific information relating
to research findings conducted, supported, or possessed by the tobacco product manufacturer
relating to the effect of the product on tobacco-related diseases and health-related conditions,

including information both favorable and unfavorable to the ability of the product to reduce risk

or exposure and relating to human health.” Id. § 387k(e).

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42. The Act requires that, with the exception of trade secrets and other confidential
commercial information, the FDA must “make the application” for a MTRP available to the public
“and shall request comments by interested persons on the information contained in the application
and on the label, labeling, and advertising accompanying such application.” Id. § 387k(e). The
FDA must also make the application available to the Tobacco Products Scientific Advisory
Committee, which must provide its commendations on the application within 60 days Id. §
387k(f)(2).

43. The FDA cannot issue an order approving an application for a MTRP unless the
FDA determines the applicant has demonstrated that the product, as it is actually used by
consumers will: (1) “significantly reduce harm and the risk of tobacco-related disease to
individual tobacco users”; and (2) “benefit the health of the population as a whole.” Id. § 387k(1).

E. FDA Has Unlawfully And Arbitrarily Authorized NAS Cigarettes Without
Following The Procedures And Criteria Required By Congress

44. On August 27, 2015, the FDA issued a Waming Letter to Santa Fe and Reynolds
The FDA determined that NAS cigarettes were adulterated under § 387b(8) of the Act, because
NAS are MRTPS sold or distributed without an FDA order of approval.

45. The FDA stated NAS cigarettes are MRTPs because the product labeling, “which
uses the descriptors ’Natural’ and ‘Additive Free’ represents explicitly and/or implicitly that the
products or their smoke to do not contain or are free of a substance and/ or that the products present
a lower risk of tobacco-related disease or are less harmful” than other cigarettes

46. On February 23, 2017, the defendants Santa Fe, Reynolds and RJR, in a related
action, In Re.' Santa Fe Naz‘aral Tobacco Company Marken'ng & Sales Practz`ces Lz`tigatz`on, 1:16-
md-02695-JB (D.N.l\/l.), disclosed a Meinorandum of Agreement dated January 23, 2017 between

the FDA and Reynolds

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47. Under the Memorandum of Agreement, the entities ostensibly agreed to resolve the
issues raised in the Waming Letter as follows: the FDA will not initiate enforcement action so
long as NAS are not advertised using the terms “natural” and “additive free.” However, the
Memorandum explicitly provides that Santa Fe “may retain use of the term “Natural” in the
“Natural American Spirit” brand name and trademarks.” Consequently, the Memorandum
constitutes an FDA action that, in effect, authorizes Santa Fee to sell and distribute an MRTP
without going through any of the procedures mandated by the Act - including public notice and
comment on an application - and without FDA making any of the findings mandated by the Act
for an FDA order authorizing an MRTP.

CAUSES OF ACTION
COUNT I: VIOLATION OF THE APA

48. Plaintiff repeats and realleges each paragraph above as if fully stated herein and
further allege:

49. The FDA’s Memorandum of Agreement expressly authorizing Santa Fe to market
an MRTP Without complying with the requirements for such FDA authorization, as imposed by
Congress in the Act, constitutes agency action that is arbitrary, capricious an abuse of discretion,
and otherwise not in accordance With law, within the meaning of the APA. 5 U.S.C. § 706(2).
This violation of the Act and the APA injures Plaintiffs in the manner set forth in 1111 1-49.
Consequently, the Court “shall set aside” the FDA’s action, Id.

PRAYER FOR RELIEF
Plaintiff is therefore entitled to an Order:
1. Setting aside the FDA’s January 19, 2017 Memorandum;

2. Declaring FDA’s Memorandum to be unlawful and in contravention of the Act;

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3. Enj oining the FDA from entering into or reissuing the Memorandum in any form;

4. Awarding Plaintiffs’ their attorneys’ fees and costs; and

5. Awarding Plaintiffs such further relief as the Court deems just and proper.

Dated: June 6, 2017

Respectfully submitted,

s/Scott P. Schlesinger
Scott P. Schlesinger

Jonathan R. Gdanski

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